Case 1:05-cr-10030-.]DT Document 21 Filed 05/20/05 Page 1 of 2 Page|D 16

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IN THE UNITED srArEs DISTRICT CoURT 05 `
FoR THE WESTERN DISTRICT oF TENNESSEE diego "\ 05

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UNITED STATES OF AMERICA, !;1/@' : _/;)/:/p» O/ fr §

Plaintiff, ,-‘//`?;G'i/<S`/_` C/\

SQ/V

VS. No. 05-10030-T
THOMAS RUS SELL TACKETT,

Det`endant.

ORDER QQNTM Q_I§G TRIAL AND REPORT DATE
AND EXQLUDING DELAY

Upon motion of counsel for Thornas Russell Tackett, with no objection from the
government and for good cause shown, the report date which is currently scheduled for May 23,
2005, and the trial date Which is currently scheduled for lune 6, 2005, are hereby continued
Defendant contends that additional time is needed to prepare for trial.

The court finds that the defendant’s need for a continuance for additional preparation
outweighs the best interests of the public and the defendant in a speedy trial; therefore, the ends
of justice will be served by granting a continuance in order to allow the defendant more time to
prepare for trial, Accordingly, the trial is continued from June 6, 2005l to August 8, 2005l at
9:30 A.M. The resulting period of delay, from June 6, 2005, to August 8, 2005, is excluded
pursuant to 18 U.S.C. § 3161(h)(8)(A).

A new report/motion date has been set for July 28, 2005, at 8:30 a.m.

IT IS SO ORDERED.

  

 

 

J S D. TODD
ED STATES DISTRICT JUDGE
DATE JMJ§-{

Thts document entered on the docket in com llance
with sure ss auditor az(b) Fnch on 5

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 1:05-CR-10030 was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

